         Case 3:17-cv-00161-CSC Document 16 Filed 04/05/17 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION


C. SANDERS SERVICES, INC.,                    )
d/b/a CSS TRANSPORT,                          )
                                              )
       Plaintiff,                             )
                                              )       CIVIL ACTION NO. 3:17cv161-CSC
v.                                            )
                                              )
TI GROUP AUTOMOTIVE                           )
STSTEMS, LLC                                  )
                                              )
       Defendant.                             )


                                   NOTICE OF DISMISSAL

       COMES NOW the Plaintiff, pursuant to Rule 41(a)(1) of the Federal Rules of Civil

Procedure and gives notice of the dismissal of this action and states:


       1. Plaintiff gives notice of the dismissal of this action, without prejudice.

       2. The opposing party has not filed an answer or a motion for summary judgment.




                                                      Respectfully Submitted,

                                                      /s/ Brian P. Strength
                                                      BRIAN P. STRENGTH (ASB-9708-G66B)



       OF COUNSEL:
       BRIAN P. STRENGTH
       STRENGTH & CONNALLY, LLC
       P.O. Box 830810
       402 North Main Street

                                                  1
         Case 3:17-cv-00161-CSC Document 16 Filed 04/05/17 Page 2 of 2



       Tuskegee, AL 36083
       (ph) 334.727.7762
       (fax) 334.460.2773
       bs@strengthconnally.com



                              CERTIFICATE OF SERVICE


        I hereby certify that I have served a copy of the foregoing upon all counsel of record by
electronic notification on this the 5th day of April, 2017:


Sarah S. Osborne
Robert E. Poundstone
Bradley Arant Boult Cummings LLP
445 Dexter Avenue, Suite 9075
Montgomery, AL 36104

John Trentacosta
Nicholas Ellis
Foley & Lardner, LLP
500 Woodward Avenue, Suite 2700
Detroit, MI 48226-3489

Philip A. Thompson
Haygood, Cleveland, Pierce
       & Thompson, LLPO
611 East Glenn Avenue
PO BOX 3310
Auburn, AL 36831

                                                             /s/Brian P. Strength
                                                             OF COUNSEL




                                                 2
